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                                        02

 Joe M. Allbaugh, Director                                            Signature on File
 Oklahoma Department of Corrections


                               Inmate/Offender Grievance Process

The grievance process provides a standard method by which an inmate/offender may seek
formal administrative decisions or answers to issues or complaints. (2-CO-3C-01, 4-4284,
4-ACRS-4C-01M, 4-ACRS-6B-03, 4-APPFS-2C-02) Inmates/offenders are required to
exhaust the grievance process prior to filing a lawsuit (42 U.S.C. § 1997 (e) and 57 O.S. §
564). This procedure will be made available to all inmates/offenders through orientation
and library services.

I.       Definition of Terms Used in This Procedure

         A.        Inmate/Offender Grievance

                   The formal complaint by an inmate/offender using the “Inmate/Offender
                   Grievance Report Form” (DOC 090124A, attached).

         B.        Request to Staff

                   A system of written communication between staff and inmates/offenders to
                   resolve complaints/issues informally for issues that can then move forward in
                   the grievance process as necessary. (4-4016)

         C.        Inmate/Offender

                   Any person sentenced or assigned to any form of supervision, custody, or
                   control by the Oklahoma Department of Corrections (ODOC) at any prison
                   facility, in the community, or on probation or parole status.

         D.        Reviewing Authority

                   The facility head or facility correctional health services administrator (CHSA)
                   where the incident occurred and to whom the grievance is first submitted.

         E.        Administrative Review Authority (ARA)

                   The division of the agency serving as the director’s designee, or the chief
                   medical officer’s designee, to whom the formal grievance is submitted for
                   final appeal.
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      F.     Agency Staff

             Any staff member employed by the Oklahoma Department of Corrections
             (ODOC). This designation may also include, for the purpose of this
             procedure, employees of a contract provider or a volunteer for the agency.

      G.     Verified

             The act of signing a document and having it notarized by a licensed notary.

      H.     Name

             Forms attached to this procedure requiring the inmate to provide their name
             may be completed using an inmate’s legal name if it differs from their
             incarcerated name (name on their judgment and sentence). However, the
             inmate must include their incarcerated name in addition to their legal name.

II.   Grievance Procedure Guidelines

      A.     Grievabl Issues

             1.       A grievance will be used to address issues regarding conditions of
                      confinement, actions of staff, and incidents occurring within or under
                      the authority and control of ODOC that have personally affected the
                      inmate/offender making the complaint and for which a remedy may be
                      allowed by the agency or by law. (2-CO-4B-03, 4-4301)

             2.       Sex Offender Registration Grievances

                      Those offenders and persons required to register as sex offenders
                      under Oklahoma law may file a grievance if they believe they are not
                      required to register, or if they believe their registration level is
                      incorrect.

                      a.     For those offenders under ODOC supervision on parole or
                             probation, the procedures set forth in this procedure shall be
                             followed by first submitting a “Request to Staff” (DOC
                             090124D, attached) to their supervising officer, then filing a
                             formal grievance with the district supervisor as the reviewing
                             authority, and an appeal may also be filed to ARA.

                      b.     For those persons not under ODOC supervision, a request to
                             staff is not required, but a grievance will be filed with the Sex
                             Offender Registration Unit as the reviewing authority and an
                             appeal may also be filed to the ARA. The time requirements
                             for filing grievances as set forth in this procedure shall be
                             followed.

      B.     Non-grievable Issues
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             1.       Misconduct reports received through the agency disciplinary
                      procedures may not be appealed through the grievance process.
                      Misconduct reports may only be appealed through the disciplinary
                      appeal process as referenced in OP-060125 entitled “Inmate/Offender
                      Disciplinary Procedures.”

             2.       Grievances shall not be submitted about matters that are in the
                      course of litigation.

             3.       Grievances shall not be submitted that include requests for
                      disciplinary action against staff.

             4.       Grievances shall      not     be   submitted   requesting     monetary
                      compensation.

             5.       Property issues at privately contracted facilities are to be resolved by
                      the privately contracted facility and are not grievable or appealable to
                      ARA.

       C.    Failure to Submit Timely Grievance

             An inmate/offender will submit a grievance within the time frames in this
             procedure; if not, the grievance will be ruled as untimely submitted, except as
             provided for in Section XII. of this procedure.

       D.    No Mailbox Rule

             There is no mailbox rule regarding submission of requests to staff or
             grievances and grievance appeals. The document must be received in the
             appropriate office within the required time frame. All time frames include
             weekends and holidays. When a time frame ends on a weekend or holiday,
             it will be extended to the next business day. Deposit in the mail will not be
             sufficient to meet time frames.

III.   Access to the Grievance Procedure

       The written grievance procedure and grievance forms will be readily available to
       inmate/offenders and staff throughout ODOC and in privately contracted facilities.
       (4-4344M) It is the inmate’s/offender’s responsibility to maintain copies of all
       relevant grievance documents for his/her record.

       A.    Availability of Materials/Forms

             Materials and forms will be available through the law libraries, general
             circulation libraries, facilities, district offices and staff.   Staff, or
             inmate/offender research assistants in the law library, may provide
             assistance as to the proper procedure for submitting a grievance.

       B.    Explanation of Process

             Upon initial reception at the assessment and reception center or a
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             district/sub-office and upon transfer to a facility or district/sub-office, the
             grievance process will be explained to inmate/offenders that will include non-
             English translation (oral and written) as required. Appropriate assistance for
             those impaired or disabled will also be provided.

      C.     Training

             All agency staff, employees of private prisons or community contract facilities
             and volunteers will receive documented training in the grievance process
             during orientation. Employees who work at a facility or who have regular
             daily contact with inmates during the course of their employment will also
             receive documented grievance process training during in-service training.

      D.     Reprisals

             An inmate/offender will not suffer reprisals for submitting a grievance in good
             faith.

             1.       A reprisal means any action or threat of action against anyone for
                      using the grievance process. Actions taken in accordance with the
                      abuse of process procedure below or discipline for false statements
                      are not reprisals.

             2.       A grievance may be submitted if the inmate/offender feels any reprisal
                      has occurred.

             3.       The inmate/offender will not receive a misconduct report for
                      submitting a grievance in good faith.

             4.       A misconduct report may be issued if an inmate/offender has made a
                      threat in a grievance against staff, visitors, or another inmate/offender,
                      or if an inmate/offender has provided a falsified, forged or fraudulent
                      document as evidence in the complaint.

      E.     Inmate/Offender Assistance

             An inmate/offender may assist another inmate/offender at the same facility in
             preparing a grievance, but the complaining inmate/offender must sign the
             grievance and submit it to staff.

      F.     Submitting on Behalf of Another Person

             No person may submit a grievance on behalf of another person or about an
             issue/complaint not directly affecting the complaining inmate/offender except
             in the event of an allegation of sexual abuse as outlined in Section VIII. of
             this procedure. (PREA 115.52 (e)(1)). As a condition of processing the
             grievance the facility may require that the alleged victim agree to have the
             grievance filed on his or her behalf, and may also require the alleged victim
             to personally pursue any subsequent steps in the administrative remedy
             process. (PREA 115.52 (e)(2))
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      G.     Legible




             Inmate/Offender “Request to Staff” (DOC 090124D) forms and grievances
             submitted to staff for resolution must be legibly written or typed in blue or
             black ink. No pencil, highlighter or other color of ink is allowed. No drawing,
             decorating, doodling, or making comments in the margins of the pages is
             permitted.

IV.   Informal Resolution

      Informal resolution requires communicating with staff, including submitting a
      “Request to Staff,” if the complaint is not resolved. The informal resolution process
      precedes submitting a grievance.

      A.     Categories for Grievances

             This process must relate to one of the following categories:

             1.       Discrimination;

             2.       Classification;

             3.       Complaint Against Staff;

             4.       Conditions of Confinement;

             5.       Disciplinary Process;

             6.       Legal;

             7.       Medical;

             8.       Property/Trust Fund;

             9.       Records/Sentence Administration;

             10.      Religion; or

             11.      Personal Identity (including, but not limited to, gender variant clothing,
                      hormone treatment, specific mental health treatment, separate
                      showering, etc.).

      B.     Initial Attempt
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             Before submitting a “Request to Staff,” the inmate/offender must try to
             resolve the complaint by talking with the affected staff, supervising employee
             or other appropriate staff within three (3) days of the incident.

      C.     Request to Staff

             If not resolved, the inmate/offender must submit a “Request to Staff” through
             the law library supervisor or the warden’s designee, detailing the
             issue/incident completely but briefly.

             1.       The submission through the law library supervisor or designee applies
                      to minimum and higher security facilities. At community level facilities,
                      inmate/offenders will submit the form to the appropriate staff member.

             2.       The form must be specific as to the complaint, dates, places,
                      personnel involved and how the inmate/offender was affected.

             3.       The “Request to Staff” must be submitted within seven (7) days of the
                      incident, and only one issue or incident is allowed per form. The
                      inmate/offender shall utilize only the front and back of the form. No
                      attachments are allowed.

             4.       Inmates/offenders will submit the “Request to Staff” form to the law
                      library supervisor or designee. The law library supervisor or designee
                      will stamp the date of receipt on the original submission.

             5.       Upon request by the inmate/offender, one copy of the original
                      “Request to Staff” that is submitted will be provided. All additional
                      copies are subject to applicable fees as referenced in OP-030115
                      entitled “Access to Courts/Law Library.”

             6.       The law library supervisor or designee will assign the “Request to
                      Staff” to the appropriate staff member who will attempt to resolve the
                      issue. Multiple “Request to Staff” submitted containing the same
                      issue will be forwarded to the appropriate staff member for one
                      response. The staff member assigned will respond in writing within
                      ten (10) days of receipt to all “Request to Staff” forms being used to
                      attempt informal resolution. On the “Request to Staff”, staff will
                      document any action taken and will cite or quote applicable agency
                      procedures. A “Request to Staff” assigned to an appropriate staff
                      member who is at another facility may be scanned and emailed or
                      faxed to the law library supervisor or designee at the proper facility
                      for response by the appropriate staff member.

             7.       The responding staff member will return the completed “Request to
                      Staff” to the law library supervisor or designee at their facility. If a
                      response is being returned by another facility, the response may be
                      scanned and emailed or faxed to the law library supervisor or
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                      designee at the originating facility. The law library supervisor or
                      designee will date stamp the receipt of the response on the “Request
                      to Staff.” The law library supervisor or designee will date and send a
                      copy of the completed form to the inmate/offender and retain the
                      original request and response for centralized filing.

             8.       Law library supervisors or designees are required to log each
                      “Request to Staff” in and out on the “Request to Staff Log” located on
                      Share Point if available or, if not available, on the form “Request to
                      Staff Log” (DOC 090124F, attached). If a response is not received in
                      30 calendar days, the law library supervisor or designee will notate
                      the non-response in the “Disposition Date” column of the “Request to
                      Staff Log.”

             9.       A “Request to Staff” may not be submitted about matters that are in
                      the course of litigation or any categories that are not listed above.

             10.      A “Request to Staff” by an inmate regarding a pending misconduct
                      against that inmate may only be submitted to the assigned disciplinary
                      coordinator.

             11.      If there has been no response in 30 days, but no later than 60 days,
                      of submission, the inmate may file a grievance to the reviewing
                      authority with a copy of the “Request to Staff” attached to the
                      grievance form. The grievance may assert only the issue of the lack of
                      response to the “Request to Staff.”

             12.      An Oklahoma inmate held in another state or jurisdiction pursuant to
                      an agreement between ODOC and said jurisdiction shall submit a
                      copy of any “Request to Staff” to the Corrections Compact Unit at the
                      Lexington Assessment and Reception Center (LARC).

V.    Submission and Review of Formal Grievances

      A.     Submitting the Grievance

             If a complaint is not resolved informally, the inmate/offender may obtain and
             complete the “Inmate/Offender Grievance Form” (DOC 090124A) and submit
             the grievance form, along with the “Request to Staff” used in the informal
             resolution process with the response, to the appropriate reviewing authority.
             The “Request to Staff” may be a copy. The submitted documents may
             contain no alterations whatsoever. Altered documents will cause the
             grievance to be rejected as improperly filed. No additional attachments are
             allowed.

             1.       The inmate/offender grievance must be submitted by the
                      inmate/offender 15 days from the date of the receipt of the response
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                      to the “Request to Staff.” The “Request to Staff” must have been
                      timely submitted as outlined in this procedure.

             2.       The reviewing authority may choose to extend the submitting period
                      up to 60 days for good cause.

             3.       Under no circumstances will the grievance be accepted after 60 days
                      of the incident or the date of the response to the “Request to Staff”
                      unless ordered by a court, the director, chief medical officer, or their
                      designee.

             4.       Only one issue or incident is allowed per grievance.

             5.       All medical grievances will be submitted to the facility correctional
                      health services administrator (CHSA) for resolution.

             6.       Privately contracted facilities are responsible for responding to
                      grievances on matters occurring during the inmate’s incarceration at
                      their facility. Inmates at privately contracted facilities will file
                      grievances with the facility administrator on-site.

             7.       If the inmate/offender does not follow instructions as explained in this
                      procedure and on the grievance forms, the grievance may not be
                      answered. If allowed, the inmate/offender must properly re-submit the
                      grievance within 10 days of notice of improper filing. Continued failure
                      to follow instructions may result in restrictions being imposed as
                      outlined in Section IX. of this procedure.

      B.     Where the Grievance is Submitted

             1.       Inmate/offenders must submit the grievance to the reviewing authority
                      or facility correctional health services administrator (CHSA),
                      whichever is appropriate, where the alleged incident occurred.
                      Grievances concerning custody assessment, sentence administration
                      or records must be submitted to the facility where the field file is
                      located.

             2.       If the location of the alleged incident is unknown or uncertain, the
                      inmate/offender will consult with their case manager/designated staff
                      for assistance.

             3.       If the grievance involves multiple facilities at different locations, such
                      as transfer of property, the inmate/offender will submit the grievance
                      to one of the involved reviewing authorities who will investigate,
                      respond to the grievance, and then forward the original grievance to
                      the next reviewing authority for further investigation and response.

                      a.     The inmate/offender will be informed of where the grievance is
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                              being forwarded.

                      b.      This process will continue until every involved reviewing
                              authority has reviewed and responded to the grievance.

                      c.      The last reviewing authority will return a copy of the originally
                              submitted paperwork to the inmate/offender along with the
                              response.

             4.       If the grievance is filed by an Oklahoma inmate/offender held in
                      another state or jurisdiction, the inmate/offender will submit the
                      grievance to the administrator of Classification and Population who
                      will serve as the reviewing authority.

      C.     Time Frames for the Review of Grievances

             1.       The reviewing authority will respond on the “Grievance Decision from
                      Reviewing Authority” (DOC 090124B, attached), and will forward the
                      answered grievance forms to the inmate/offender within 20 days of
                      receipt of the grievance.

             2.       If the grievance involves multiple units at different locations, the
                      period for response will be 20 days from receipt of the grievance by
                      each involved unit.

             3.       If the grievance cannot be answered within the 20 day period, the
                      inmate/offender will be notified in writing, and the due date will be
                      extended no more than an additional 20 days.

             4.       If there has been no response by the reviewing authority within 30
                      days, but no later than 60 days, of submission, the inmate/offender
                      may send a grievance to the Administrative Review Authority (ARA)
                      with evidence of submitting the grievance to the proper reviewing
                      authority. The grievance submitted to the ARA will assert only that the
                      inmate’s/offender’s grievance was not answered by the reviewing
                      authority.

VI.   Procedures of the Reviewing Authority

      A.     Tracking Procedures

             1.       Upon receipt of every grievance, the reviewing authority will assign a
                      grievance number, category code, and stamp or show date of receipt
                      on the “Inmate/Offender Grievance.” This includes grievances
                      returned unanswered for any reason.

             2.       The reviewing authority will screen the “Inmate/Offender Grievance” to
                      determine:
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                      a.      Whether the grievance concerns an issue or incident involving
                              the facility where the “Inmate/Offender Grievance” was
                              received;

                      b.      Whether the issue raised is a grievable issue;

                      c.      Whether the “Inmate/Offender Grievance” and/or “Request to
                              Staff” were submitted in a timely manner;

                      d.      Whether the proper procedures for submitting a grievance
                              were followed;

                      e.      Whether the “Inmate/Offender Grievance” and/or “Request to
                              Staff” contain more than one issue.

      B.     Answering the Grievance

             1.       On the “Grievance Decision from Reviewing Authority” (DOC
                      090124B), the reviewing authority may cite and quote the appropriate
                      agency procedures, facility/district/unit procedures or Oklahoma
                      Statute and may state specific findings of fact, conclusions, and
                      actions taken by the reviewing authority to investigate and resolve the
                      complaint.

             2.       The facility head will receive a copy of the CHSA's medical grievance
                      decision.

             3.       A legible copy of the grievance, the decision, and all paperwork
                      submitted will be returned to the inmate/offender. The original of all
                      paperwork will be retained by the reviewing authority. The
                      inmate/offender is responsible for maintaining copies and a record of
                      their grievances.

             4.       The reviewing authority or designee will have the inmate/offender sign
                      and date the decision acknowledging receipt.

             5.       The reviewing authority will either grant or deny relief in whole or in
                      part, and if granted, will provide the appropriate remedy and due date.

             6.       The reviewing authority will notify the inmate/offender when a
                      grievance is submitted improperly. The inmate/offender will be given
                      one opportunity to correct any errors and properly resubmit within ten
                      (10) days of the date the inmate/offender is notified of the improper
                      submission. If the inmate/offender fails to correct the errors or
                      properly resubmit, the grievance will not be answered and the
                      inmate/offender will have waived/forfeited the opportunity to proceed
                      in the grievance process.
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       C.    Resolution/Action in Response to a Grievance

             1.       Resolution/action may be taken at any reviewing level and may
                      include any appropriate remedy as authorized by Oklahoma law.

             2.       Grievances rendered moot by the inmate/offender discharging will not
                      require a response.

VII.   Appeal Process and Procedure (4-4284, 4-4301)

       A.    Grounds for Appeal

             The inmate/offender may appeal the reviewing authority’s response to the
             grievance on the following grounds only:

             1.       Upon newly discovered/available evidence not considered by the
                      reviewing authority, relevant to the issue and necessary for a proper
                      decision. The inmate/offender must state why the evidence was not
                      previously available and how, if considered, it may alter the decision.
                      The inmate/offender must clearly state the newly discovered/available
                      evidence; or

             2.       Probable error committed by the reviewing authority in the decision
                      such as would be grounds for reversal. The inmate/offender must
                      clearly state the error committed by the reviewing authority, including
                      the specific section of procedures or statutes not followed by the
                      reviewing authority.

       B.    Final Appeal to Administrative Review Authority

             The inmate/offender may make a final appeal to the ARA, personal identity
             ARA or Medical ARA, whichever is appropriate, within 15 days of receipt of
             the reviewing authority’s decision or any amended decisions.

             1.       Submission of the Grievance Appeal

                      a.      The      inmate/offender      will      submit      only     the
                              “Misconduct/Grievance Appeal to Administrative Review
                              Authority” (DOC 060125V). Inmates/offenders are to maintain
                              a copy of the appeal and related grievance paperwork for their
                              record. The original paperwork will be retained by the reviewing
                              authority.

                      b.      No additional attachments, except an affidavit if required, are
                              allowed. Pages may not be stapled, glued, taped, reduced in
                              size, or otherwise affixed together to count as one page.
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                      c.      The ARA will notify the responding facility when decisions are
                              appealed by the inmate/offender. The “Request to Staff,”
                              “Inmate/Offender Grievance,” and “Grievance Decision from
                              Reviewing Authority” will be provided in electronic format to the
                              ARA by designated staff within five (5) days.

                      d.      Each grievance inmate/offender appeal form must be
                              submitted in a separate envelope and mailed through the U.S.
                              Postal Service.

                              Grievance appeals unrelated to medical must be mailed to:

                                              Administrative Review Authority
                                              P.O. Box 11400
                                              Oklahoma City, OK 73136-0400

                              Grievance appeals involving medical issues must be mailed to:

                                              Medical Administrative Review Authority
                                              2901 N. Classen Blvd., Suite 200
                                              Oklahoma City, OK 73106

                              Grievance appeals involving personal identity issues must be
                              mailed to:

                                              Personal Identity Administrative Review Authority
                                              P.O. Box 11400
                                              Oklahoma City, OK 73136-0400

                      e.      The ARA will notify the inmate/offender when grievances and
                              grievance appeals are submitted improperly. The
                              inmate/offender will be given one opportunity to correct any
                              errors, which must be received by the ARA within 10 days of
                              the time the inmate/offender is notified of improper submission.
                              If the inmate/offender fails to correct the errors or properly
                              resubmit, the grievance or grievance appeal will not be
                              answered and the inmate/offender will have waived/forfeited
                              the opportunity to proceed in the grievance process.

             2.       Co-Pay

                      a.      Inmates/offenders will be charged $2.00 per grievance appeal
                              submitted to the ARA. Inmates/offenders will not be refused
                              access to the appeal process because of their financial status.
                              If there are not enough funds to cover this cost, the amount will
                              be collected as soon as funds become available.

                      b.      After answering the grievance, the ARA will submit a copy of
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                             the “Misconduct/Grievance Appeal to Administrative Review
                             Authority” to the facility trust fund officer at the facility where
                             the inmate is currently housed, for the $2.00 fee to be entered
                             into the system as a "Legal Co-Pay." If a reinvestigation or an
                             amended response to the grievance is ordered, no co-pay will
                             be collected.

             3.       The ARA has 30 days from receipt of the appeal to respond. If more
                      time is required, the inmate/offender will receive written notification,
                      and the due date will be extended no more than an additional 30
                      days.

             4.       The ARA will retain one legible paper or digital copy of all grievance
                      paperwork on file. A legible paper or digital copy of the response will
                      be sent to the reviewing authority who will provide a copy of the
                      response to the inmate/offender. Each response will be handled and
                      recorded according to privilege mail procedures.

             5.       Grievances and grievance appeals which present more than one
                      issue or which are not submitted in accordance with this procedure
                      will not be answered.

      C.     Administrative Review Action

             If the ARA determines that the grievance needs further investigation or
             review by the reviewing authority, the grievance may be returned to the
             reviewing authority for further investigation and for an amended response to
             the inmate/offender.

             1.       If the grievance is returned to the reviewing authority, the
                      inmate/offender will be notified by the ARA where the grievance has
                      been sent.

             2.       The reviewing authority will respond within 20 days of receipt of the
                      returned grievance with an amended response.

             3.       The reviewing authority will scan a copy of the amended response to
                      the ARA.

             4.       If the inmate/offender has grounds for appealing the reviewing
                      authority’s amended response, as provided in Section VII. item A. of
                      this procedure, the inmate/offender may submit a grievance appeal
                      within the guidelines and time frames specified in this procedure.

      D.     Final Ruling

             1.       The ruling of the ARA is final and will conclude the internal
                      administrative process available to the inmate/offender within the
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                      jurisdiction of ODOC. The inmate/offender will have satisfied the
                      exhaustion of internal administrative remedies required by Oklahoma
                      Statute 57 O.S. § 564.

              2.      The agency grievance procedure does not satisfy the additional
                      requirements for exhaustion of administrative remedies required by
                      the Oklahoma Governmental Tort Claims Act, 51 O.S. § 151 et seq.
                      Inmates/offenders may also be required to file a tort claim prior to
                      filing a lawsuit.

VIII.   Emergency or Sensitive Grievances

        A.    Process

              Grievances may be submitted directly to the reviewing authority without
              informal resolution process when the complaint is of a sensitive nature or
              when substantial risk of personal injury, sexual assault or other irreparable
              harm exists. The inmate/offender must use the “Inmate/Offender Grievance”
              form (DOC 090124A). (PREA 115.52 (a), 115.52 (b)(3), 115.52 (c), 115.52
              (f)(1))

              1.      Emergency Grievance

                      A complaint of an emergency nature is one in which the complainant
                      alleges irreparable harm or personal injury will occur and which the
                      grievance process will be unable to address in a timely, preventive
                      manner. The word “emergency” will be written at the top of the
                      grievance before submission

              2.      Sensitive Grievance

                      A complaint of a sensitive nature is one in which the complainant
                      alleges misconduct by a staff member who either directly supervises
                      the inmate/offender or is the reviewing authority where the
                      inmate/offender is assigned. The word “sensitive” will be written at
                      the top of the grievance before submission.

                      There will be no time limit to any portion of a grievance regarding an
                      allegation of sexual abuse. (PREA 115.52 (b)(1)) Grievances of
                      alleged incident of sexual abuse may be filed at any time, regardless
                      of time the incident occurred. (PREA 115.52 (b)(4)). This provision
                      does not restrict the agency’s ability to assert as an affirmative
                      defense any applicable statute of limitations in response to an
                      inmate/offender lawsuit. (PREA 115.52 (b)(4))

              3.      The inmate/offender will describe the reason why they believe the
                      grievance to be of an emergency or sensitive nature that justifies not
                      submitting the grievance through normal procedures and attempting
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                      informal resolution. The grievance must include a statement
                      specifying the personal injury or irreparable harm at risk.

             4.       The inmate/offender will forward the grievance directly to the
                      reviewing authority that can provide immediate resolution. If the
                      complaint involves the reviewing authority and is of a sensitive nature,
                      the grievance may be brought directly to the ARA, whichever is
                      appropriate. (PREA 115.52(c)(2))

      B.     Upon receipt of a grievance marked “emergency” or “sensitive,” the reviewing
             authority will have 24 hours to determine if it is in fact an emergency or
             sensitive grievance. If so, an expedited review will be conducted and a
             response provided to the inmate/offender within 48 hours of receipt,
             excluding weekends and holidays. (PREA 115.52(d)(1)) The inmate/offender
             may appeal that response as provided for in Section VII. of this procedure.
             The ARA will provide an expedited response to all verified emergency or
             sensitive grievances within 72 hours of receipt of the grievance, excluding
             weekends and holidays. (PREA 115.52(d)(1), 115.52(d) (2)(3)(4))

      C.     Assistance for Filing a Grievance Regarding Allegations for Sexual Abuse

             1.       Third parties, including fellow inmates/offenders, staff members,
                      family members, attorneys, and outside advocates shall be permitted
                      to assist inmate/offenders in filing requests for administrative
                      remedies relating to allegations of sexual abuse and shall also be
                      permitted to file such requests on behalf of inmates/offenders. (PREA
                      115.52 (e)(1))

             2.       If a third party files such a request on behalf of an inmate/offender,
                      the facility may require as a condition of processing the request that
                      the alleged victim agree to have the request filed on his or her behalf,
                      and may also require the alleged victim to personally pursue any
                      subsequent steps in the administrative remedy process. (PREA
                      115.52 (e)(2))

             3.       If the inmate/offender declines to have the request processed on his
                      or her behalf, the agency shall document the inmate’s/offender’s
                      decision. (PREA 115.52 (e)(3))

      D.     Determination that a Grievance is Not Emergency or Sensitive

             When the appropriate reviewing authority determines that a grievance is not
             of an emergency or sensitive nature, the inmate/offender will be provided
             written notification that the grievance is not of an emergency or sensitive
             nature and that the standard grievance process must be followed. (PREA
             115.52 (b)(2), 115.52 (f)(2), 115.52 (g))
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      E.     Co-Pay

             Inmates/offenders will be charged the $2.00 legal co-pay as specified in this
             procedure for submission of an emergency or sensitive grievance. If relief is
             granted, no co-pay will be charged.

IX.   Abuse of the Process

      A.     Determining Abuse of the Grievance Process

             1.       The appropriate reviewing authority may determine there is abuse or
                      misuse of the grievance process and may restrict the
                      inmate’s/offender's ability to submit a grievance. Types of abuse,
                      include, but are not limited to: (PREA 115.52(g))

                      a.      Grievances intended to harass another;

                      b.      The continual and repeated submitting of frivolous grievances
                              (frivolous grievances are those with no basis in fact or law);

                      c.      The repeated submitting of grievances or “Requests to Staff”
                              about an issue previously addressed by staff in their written
                              response;

                      d.      Grievances about de minimis (small, trifling, no available
                              remedy) issues;

                      e.      Repetitive grievances by multiple inmates/offenders about the
                              same issue;

                      f.      An inmate/offender writing letters instead of utilizing the
                              grievance process and failing to bring complaints by formal
                              grievance;

                      g.      Continued procedural defects, such as submitting additional
                              pages, after having been previously warned.

             2.       If abuse of the process is determined, the inmate/offender will be
                      notified in writing, citing the above listed reason or reasons the
                      inmate/offender has been placed on grievance restriction. A copy of
                      the determination will be placed in the inmate’s/offender's field file and
                      a copy will also be provided to the reviewing authority and the ARA. If
                      the determination of abuse of the process is taken at the first level of
                      review, the action is appealable to the ARA.

      B.     Restriction Process
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             1.       The grievance restriction may be imposed for a period not longer than
                      12 months. Further abuses are grounds for extending the restriction.
                      An extension will not exceed 12 months from the date of notification
                      of restriction extension.

             2.       For all grievances and appeals submitted during the restriction period,
                      the inmate/offender is required to show cause as to why they should
                      be permitted to grieve. Cause will be shown as follows:

                      a.      The inmate/offender will submit a duly verified affidavit, made
                              under penalty of discipline for lying to staff, attached to the
                              grievance and appeal, stating that all contents of the grievance
                              are true and correct to the best of the inmate’s/offender's
                              knowledge. The affidavit will also contain a complete,
                              accurate, and legible list by grievance number, date,
                              description, and disposition at each level, of all grievances
                              previously submitted by the inmate/offender within the last 12
                              months. Each page of the affidavit must be legible and signed,
                              verified and notarized at the end of the text. Copies of notaries
                              will not be accepted.

                      b.      In each case, before considering the merits of the grievance or
                              appeal, the reviewing authority will determine whether the
                              inmate/offender has complied with the requirements for being
                              permitted to submit a grievance or appeal.

                      c.      If the inmate/offender has not complied with all requirements
                              for submitting a grievance or appeal, the inmate/offender will
                              be provided written notification and the grievance or appeal will
                              not be answered.

                      d.      The grievance or appeal may proceed when the
                              inmate/offender meets the guidelines outlined in this
                              procedure.

X.    Confidentiality and Use

      A.     File Maintenance and Access

             1.       All inmate/offender grievance records will be treated as restricted and
                      will be maintained in a file separate from the inmate/offender field file
                      and medical record. (4-ACRS-7D-09)

             2.       Access will be limited to corrections employees who need such
                      information in the performance of their duties, such as staff members
                      preparing responses to grievances and investigations.
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       B.    Attachments to Special Reports

             Copies of inmate/offender “Request to Staff,” grievances and/or appeals will
             be made an attachment to all special reports ordered by any court. If no
             grievance was submitted by an inmate/offender plaintiff, an affidavit attesting
             to that fact will be made an attachment to the special report.

XI.    Monitoring of Inmate/Offender Grievances

       A.    Grievance Report Log

             1.       The reviewing authorities and CHSA’s, and/or their designees, will
                      record all submitted inmate/offender grievances and the actions taken
                      at each level using the “Grievance Log” (DOC 090124C, attached).
                      The log will be maintained for statistical purposes at the location of
                      origin. (4-ACRS-6B-03, 4-APPFS-2G-02)

             2.       The ARA will maintain electronic records of all submitted
                      inmate/offender grievance appeals and the action taken at each level.

             3.       The Medical ARA may maintain electronic or manual records of all
                      submitted inmate/offender grievance appeals and the action taken at
                      each level.

       B.     Records Keeping

             A copy of all grievances submitted and dispositions of those grievances will
             be maintained for three (3) years at each level the grievance was submitted.
             At the end of the three (3) year period, the material may be disposed of in
             accordance with OP-020202 entitled “Management of Office Records.”

XII.   Submitting a Grievance/Appeal Out of Time

       A.    If a grievance has been denied by the reviewing authority and the ARA or
             Medical ARA due to the grievance not being submitted in a timely manner,
             the inmate may make a request to submit a grievance out of time by
             submission of the “Request to Submit a Misconduct/Grievance Appeal Out of
             Time” (DOC 060125T). The grievance will not be attached to the form.

       B.    The request may be submitted to the ARA or Medical ARA, whichever is
             appropriate, and must be received within 15 days of the date of denial of the
             untimely grievance or appeal by the ARA or Medical ARA.

       C.    The inmate must prove by substantial evidence that he/she did not submit
             the grievance or appeal in a timely manner through absolutely no fault of
             his/her own.

       D.    If the request to submit an untimely appeal is granted, the inmate will be
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                 directed to properly re-submit the appeal with the ARA or Medical ARA within
                 15 days.

XIII.   References

        OP-020202 entitled “Management of Office Records’’

        OP-060125 entitled “Inmate/Offender Disciplinary Procedures’’

        42 U.S.C. § 1997e

        51 O.S. § 151 et seq.

        57 O.S. § 564, § 566 et seq.

        Booth v. Churner, 532 U.S. 731, 121 S.Ct. 1819 (2001)

        Jernigan v. Stuchell, 304 F.3d 1030 (10th Cir. 2002)

        Porter v. Nussle, 534 U.S. 516, 122 S.Ct. 983 (2002)

XIV.    Action

        The regional directors/director of Probation and Parole Services are responsible for
        compliance with this procedure.

        The General Counsel is responsible for the annual review and revisions.

        Any exceptions to this procedure will require prior written approval from the agency
        director.

        This procedure is effective as indicated.

        Replaced:      Operations Memorandum No. OP-090124 entitled “Inmate/Offender
                       Grievance Process” dated July 19, 2016

        Deleted:       OP-090124 Revision-01 dated September 15, 2016

        Distribution: Policy and Operations Manual
                      Agency Website
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Referenced Forms      Title                                              Location

DOC 060125T           “Request to Submit a Misconduct/Grievance          OP-060125
                      Appeal Out of Time”

DOC060125V            “Misconduct/Grievances Appeal To                   OP-060125
                      Administrative Review Authority”

DOC 090124A           “Inmate/Offender Grievance”                        Attached

DOC 090124B           "Grievance Decision from Reviewing Authority"      Attached

DOC 090124C           "Grievance Log"                                    Attached

DOC 090124D           "Request to Staff"                                 Attached

DOC 090124F           “Request to Staff Log”                             Attached
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